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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE:                                          :   BANKRUPTCY NO. 19-12290(ELF)
IN JU KIM and                                   :   CHAPTER 13
MI RA KIM                                       :
                  Debtors                       :   HEARING SCHEDULED FOR
                                                :   SEPTEMBER 15, 2020 AT 9:30 A.M.
                                                :   UNITED STATES BANKRUPTCY COURT
                                                :   900 MARKET STREET
                                                :   PHILADELPHIA, PENNSYLVANIA 19107

                   MOTION OF ALLY BANK FOR RELIEF FROM
               THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. §362(d)
            AND WAIVER OF 14 DAY STAY OF EFFECTIVENESS OF ORDER


TO THE HONORABLE ERIC L. FRANK
OF THE BANKRUPTCY COURT:

       Ally Bank, by and through its attorneys, Lavin, Cedrone, Graver, Boyd & DiSipio,

hereby moves the Honorable Court for an Order pursuant to 11 U.S.C. §362(a) granting Ally

Bank relief from the automatic stay and in support thereof avers:

       1.      Ally Bank is an entity organized under the laws of Utah and registered to do

business in the Commonwealth of Pennsylvania. For purposes of this action only, Ally Bank’s

business address is 200 West Civic Center Drive, Suite 201, Sandy, UT 84070.

       2.      On or about April 11, 2019, the Debtors filed a voluntary petition under Chapter

13 of Title 11 of the United States Code.

       3.      On or about July 11, 2016, In Ju Kim (the “Debtor”) executed and delivered to

Conicelli Toyota (the “Dealer”), a Retail Installment Sale Contract (the “Contract”) in

consideration of the purchase price of a 2016 Toyota RAV4, VIN: JTMBFREV7GJ084547 (the

“Vehicle”). A true and correct copy of the Contract is attached hereto and incorporated herein as

Exhibit “A”.
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       4.      Dealer assigned the Contract to Ally Bank whereby the Debtor became obligated

to Ally Bank under the terms of the Contract. A copy of the Vehicle’s Electronic Title is

attached hereto and incorporated herein as Exhibit “B”.

       5.      Under the terms of the Contract, the Debtor agreed to pay the principal sum of

$35,180.14, plus finance charges calculated at an annual percentage rate of 8.74% by remitting

seventy-two (72) payments in the amount of $631.88 each beginning August 25, 2016.

       6.      As of and including the July 26, 2020 due Contract payment, the Debtor is in

post-petition arrears to Ally Bank for $9,478.20.

       7.      The Contract requires the Debtor to maintain verifiable insurance coverage on the

Vehicle and as of the petition date, Ally Bank was unable to verify insurance for the Vehicle.

       8.      Movant, Ally Bank requests the Court award Ally Bank reimbursement in the

amount of $500.00 for the legal fees and costs associated with this motion.

       9.      The Debtor has defaulted on his obligations to Ally Bank under the Contract by

reason of the foregoing, Ally Bank is entitled to immediate relief from the automatic stay

imposed by 11 U.S.C. §362(a) for cause, including lack of adequate protection.

       10.     Ally Bank requests that as permitted by Bankr. R. 4001(a)(3), the courts Order

become effective immediately without the 14 day stay imposed by said rule.

       WHEREFORE, Ally Bank moves this Honorable Court to enter an Order:

               A.     Terminating the automatic stay as to Ally Bank with
                      respect to the Vehicle;

               B.     Permitting Ally Bank to take such actions and seek such
                      remedies to recover the Vehicle as are permitted by the
                      Contract, the Pennsylvania Uniform Commercial Code and
                      other applicable laws; and

               C.     Granting such other and further relief as this Court may
                      deem just and proper.
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                                  LAVIN, CEDRONE, GRAVER, BOYD & DiSIPIO


DATED: August 19, 2020            By:   /s/ Regina Cohen
                                        Regina Cohen, Esquire
                                        Attorneys for Ally Bank
